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Case No. CR04-425(C)-AHM Date February 14, 2006

 

Present: The Honorable A. HOWARD MATZ

Interpreter N/A

 

 

Stephen Montes Not Reported Not Present - Elizabeth Yang

Deputy Clerk Court Réporter/Recorder, Tape ‘Nos, Oo Assistant U.S. Attorney

‘U.S.A. v. Defendant(s): Present Cust; -Bond. . Attorneys for Defendants: Present App. Ret,
(4) Sylas Glenn Brownridge v Darlene Richer ¥v

Proceedings: {iN CHAMBERS)

After reviewing the parties’ submissions regarding the possible conflict of interest, the
Court hereby appoints Dana Cephas, panel-attorney, 1901 Avenue of the Stars, Suite 200, Los
Angeles, California 90067, telephone number (310) 461-1441; facsimile number (310) 499-
7010, as counsel of record for defendant Sylas Glenn Brownridge for all further proceedings.

 

 

 

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